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                                                        UNITED STATES DISTRICT COURT
                                                          DISTRICT OF CONNECTICUT

KEITH GAITHER, ET AL.                                                                 :             NO. 3:07CV667(WWE)

V.

THE HOUSING AUTHORITY
OF THE CITY OF NEW HAVEN,
ET AL.                                                                                :             AUGUST 3, 2007

     MEMORAN D UM OF LAW IN OPPOSITION TO THE PLAIN TIFFS MOTION TO
                       COMPEL DATED JULY 24, 2007


INTRODUCTION:

              On July 24, 2007, the plaintiffs filed a Motion to Compel in regard to some

outstanding discovery issues in this matter. This Memorandum of Law is submitted in

support of the objection of the defendants to the Motion to Compel.

CHRONOLOGY:

              In the beginning of the p laintiff s Mem orand u m , a chronology of events is set forth.

It is submitted that several important elements were missing from the chronology and the

defendants add the following:

              1.            April 5, 2007: The plaintiff files a Freedom of Information Act request for

documents on the Housing Authority and this request is fully complied with.




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              2.            On May 23, 2007, the plaintiff filed a First Request for Admissions as to the

 Housing Authority and this was fully complied with.

              3.            On June 6, 2007, the plaintiff filed a Freedom of Information Act request

 which was fully complied with.

              4.            On June 14, 2007, the plaintiff files a First Request for Admissions directed to

 the defendant Maureen Novak to which the defendants have fully responded.

              5.            On June 14, 2007, the plaintiff filed a First Request for Admissions on the

 directed to the defendant Jimmy Miller and a full compliance has been provided to this.

              In addition, it is submitted that the chronology submitted by the plaintiff needs to

 be supplemented to indicate exactly what documentation has been provided to the

 p laintiffs. In review ing the p laintiff s Mem orand u m in su p p ort of a Motion to Com p el,

 one might get the impression that the Housing Authority has not produced substantial

 documents to the plaintiffs. The following additions to the chronology submitted by the

 plaintiffs will dispel this notion:

              1.            June 11, 2007: the plaintiffs note in their chronology that the defendants

 refuse to enter a stipulated protective order. The plaintiffs neglect to indicate that the

 reason for the objection to a stipulated protective order which is set forth in the objection




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 to the requ est for p rod u ction nu m ber 5, in the p laintiff s first set of Interrogatories and

 Request for Production directed to the Housing Authority with a date of May 2, 2007.

 Specifically, the concern of the defendants is to protect the confidentiality of potential

 residents and recipients of Section 8 benefits. The protective order submitted by the

 plaintiffs does not protect the confidentiality of these individuals and as such, is

 inappropriate. Federal Law prohibits the Housing Authority from disclosing the names of

 recipients of public housing benefits.

              2.            June 25, 2007: this entry relates to the electronic discovery conference held on

 that date. The plaintiffs claim that the defendants failed to bring a representative who is

 knowledgeable about the electronic data at the Housing Authority. This indication is not

 entirely correct. Ms. Maureen Novak did attend the meeting and provided counsel with a

 set of documents listing all of these headings indicating what materials were available on

 the electronic system . In ad d ition, Ms. N ovak confirm ed that in regard to the Gaither s the

 relevant material had already been copied and provided to counsel. In addition, Ms.

 Novak provided counsel for the plaintiff with a printout of the different headings for

 materials available and requested that the attorney for the plaintiff advise the Housing

 Authority if there are specific things from the list of materials that need to be produced.




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 Counsel for the plaintiff did not respond to counsel for the defendants in regard to any

 categories or items on the documents provided that she wished to obtain copies of.

              3.            July 2, 2007: The plaintiffs note that there was a partial discovery compliance

 submitted on this date. The plaintiffs did not also indicate that on that date the parties

 engaged in lengthy settlement discussions before Magistrate Fitzsimmons and had several

 follow ups with Magistrate Fitzsimmons following that date. The defendants spent a

 significant amount of time, especially Ms. Maureen Novak, in follow up to the discussions

 at the settlement conference in an effort to resolve the matter. These efforts proved

 unsuccessful. The letter obtained from HUD dated July 26, 2007 has been provided to

 Magistrate Fitzsimmons as well as the attorney for the plaintiffs.

              Based upon the above information, it is submitted that the defendants have

 provided substantial documentation to the plaintiffs as of this time.

RESPON SE TO THE ARGUMEN T SECTION OF THE PLAIN TIFFS
MEMORANDUM OF JULY 24, 2007

 CLAIM OF UNDUE BURDEN

              The plaintiff claims that the defendants have improperly objected to a number of

 discovery requests based upon the claim that the requests are unduly burdensome. The

 plaintiffs submit that the objection is not justified.




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              As an example, the court can look at request for production number 4 of the

 Interrogatories and Request for Production addressed to the Housing Authority with a

 date of May 2, 2007. This request asks for all d ocu m ents p ossessed by you concerning

 the p laintiffs . This is a classic exam p le of an overly broad requ est. It w ou ld requ ire the

 Housing Authority to search for any piece of paper that makes any reference to the

 Gaither s. It is su bm itted that the H ou sing Au thority shou ld not be requ ired to u nd ergo

 such an analysis. This objection must also be considered in light of the compliance that

 has already been provided. Specifically, a copy of the Section 8 file of the Gaither s has

 already been provided to the plaintiffs. The plaintiffs have not indicated that there is

 something that they believe they are entitled to in addition to what has already been

 provided. As such, it is submitted that the defendants have complied in a reasonable basis

 to this request and that they should not be required to do anything further.

              The plaintiffs use as an example interrogatory #4 addressed to the defendant

Maureen Novak. Although it is true that an objection was raised to this interrogatory, it is

also true that the response to the interrogatory dated June 11, 2007 does refer to the

documents produced in regard to request for production number 2. In response to that

request, the defendants provided nu m erou s d ocu m ents in regard to the Gaither s. It is




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submitted that in spite of the fact that an objection has been raised this response has been

complied with and further discovery should not be ordered.

              In their Memorandum, the plaintiffs give another example on this issue and refer to

request number 8 of the First Set of Interrogatories and Request for Production addressed

to the defendant Housing Authority dated May 2, 2007. Request number 8 seeks an

insp ection of Section 8 files of each p erson w ho has mobility impairment, uses a

w heelchair, or u ses a w alker.                                  The p laintiff s attorney offers to review the files as op p osed

to having the Housing Authority make the search. However, in addition to the objection

in regard to the request being unduly burdensome, the more significant objection is that

the records are confidential. The names of the individuals involved are not something that

is subject to discovery pursuant to federal law, and this is the issue that is more significant

in regard to that request then the production of documents.

   RECORD S OF PRE-LAWSUIT COMMUNICATIONS WITH THE PLAINTIFFS.

              The p laintiffs refer to requ est 2, 3, and 4 relating to the p laintiff s first set of

Interrogatories and Request for Production addressed to the defendant Housing Authority

dated May 2, 2007. In regard to these materials, the defendants have responded to the

plaintiffs first set of Interrogatories and Request for Production directed to the defendant




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Jimmy Miller on June 11, 2007 and have provided documentation that is responsive to

these requ ests. In ad d ition, the p laintiffs ind icate that they are entitled a CD Rom

containing electronic d ocu m ents based u p on a key w ord search relating to nine p hrases

set forth by the plaintiffs in request number 5 of the May 2, 2007 Interrogatories and

Request for Production (first set) directed to Mr. Miller. The defendants have already

produced documentation covering many of these areas and it is submitted that the

d efend ants are not requ ired to d o su ch key w ord searches and p rod u ce ad d itional

materials to the plaintiff. The plaintiffs have not established that there are any additional

documents which they believe they are entitled to in regard to this issue.

INTERROGATORIES:

              The plaintiffs seek a response to interrogatories 1 and 2 of the Interrogatories

addressed to the defendant Maureen Novak dated May 2, 2007. Interrogatory No. 1 asks

Ms. N ovak to d escribe the d ate and su bstance of each com m u nication                                                                                     A sim ilar

request is made in interrogatory number 2 in regard to any Housing Authority employee

that had such contact. Interrogatory number 3 asks for the same information in regard to

the Voluntarily Compliance Agreement. The basis for the objection is that to require the

Housing Authority to describe each and every communication would be unduly




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burdensome. The documentation that exists in regard to Ms. Gaither has been produced.

Further compliance should not be required.

              In this section of the Mem orand u m , the p laintiffs state incred ibly, the d efendants

deny in their answer and admissions that the Gaither household ever requested a

reasonable accom m od ation.                                    The p laintiffs seem to think that this d enial allow s them to

have unfettered discovery. However, the response to this statement is that the term

  reasonable accom m od ation has a certain m eaning to the H ou sing Au thority. The

Housing Authority did not consider the request made by Ms. Gaither an accommodation

request but a request that certain steps be taken to work with the Gaither family. The

Housing Authority did respond to the request dated September 15, 2006, but did not

consid er it p er se a reasonable accom m od ation.                                                        For this reason, the Requ est for

Admissions on this issue was denied. The Housing Authority has already produced

documentation in regard to the steps taken by the Housing Authority after the request of

September 15, 2006. The plaintiffs also claim in the Memorandum that interrogatories 1

and 2 referred to above are broader than simply information in regard to the plaintiffs.

However, the actual question is specifically limited to the plaintiffs and as such, it should

not extend to anybody beyond them. The remaining requests currently seek the names of




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individuals who are entitled to confidentiality and as such, the discovery requests have

not been responded.

RECORDS OF OTHER HOUSING AUTHORITY SECTION 8 HOUSEHOLDS

              In this set of requests, the plaintiffs seek information in regard to Section 8 tenants,

 applicants or voucher holders. The plaintiffs claim that they are entitled to this

 information in order to establish a basis for the claim of discrimination. The plaintiffs cite

 the case of Hollander v. American Syanamid Company, 895 F.2nd 80, 84
                                                                    -85 (Second Cir.

 (1990)) for the proposition that they are entitled to evidence of organization w id e

 p ractices in regard to establishing w hether or not the claim of the organization that there

 are non-discriminatory reasons for its actions are justified. First of all, the court noted in

 Hollander that the discovery requests of the p laintiff sou ght inform ation regard ing the

 d eterm ination of sim ilarly situ ated p ersons.                                                 As su ch, the first lim itation of the requ est of

 the plaintiffs must be to similarly situated people. It is submitted that request 5 and 6

 meet this restriction.

              The additional problem with this request is that it seeks the disclosure of

 confidential information in regard to other individuals who are the recipients of public

 housing benefits. Federal law prohibits the Housing Authority from disclosing this




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 information and the plaintiffs have not shown any authority which would allow the

 Housing Authority to violate a law in this regard. The Housing Authority is in the process

 of attempting to prepare a document providing a summary of information in regard to

 reasonable accommodation requests which will protect the confidentiality of the

 individuals involved and also give the plaintiffs information in regard to other reasonable

 accommodation requests. This document will be produced as soon as it is available and is

 expected to be available within the next week to 10 days.

               Interrogatory No. 6 seeks information in regard to all Section 8 tenants in 3-4

 bedroom units. Again, this interrogatory seeks the disclosure of confidential information

 which cannot be produced. The same would apply to Interrogatory No. 7 of the First Set

 of Interrogatories and Request for Production addressed to the Housing Authority dated

 May 2, 2007.

 RESPON SE TO THE SECTION OF THE PLAIN TIFF S MEMORAN D UM EN TITLED
  FAILURE TO PROVID E AN Y RESPONSES TO CERTAIN INTERROGATORIES

               In regard to Interrogatory N o. 2 of the Plaintiff s First Set of Interrogatories and

 Request for Production addressed to the Housing Authority dated May 2, 2007, the

 plaintiffs request an answer and a partial compliance to the discovery dated August 1,

 2007 has been provided answering questions 2, 3, 4, 5 and 8.




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               In regard to Requ est for Prod u ction N o. 3 relating to the p laintiff s second requ est

 for production dated June 14, 2007, the defendants have provided a response to this

 request by providing the documentation from HUD in regard to the section 504 reports

 and response of the Housing Authority to the initial report and the documentation

 submitted in support of that. Since these materials have already been provided, electronic

 information is merely duplicative and should not be produced.

               In regard to request for production number 4, the plaintiffs seek production of

 minutes of the Housing Authority Commissioners going back nearly a period of 10 years

 (the period of time that Mr. Robert Solomon has been involved with the Housing

 Authority). For the first time in the Memorandum dated July 24, 2007, the plaintiffs set

 forth the reason that they are requesting this information.

               Counsel for the defendants has just learned that the minutes may be electronically

 stored. If this is the case, then the minutes will be provided to the attorney for the

 plaintiffs in this form.

               For all of the above reasons, the Motion to Compel should be denied.




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                                                                                       THE DEFENDANTS



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                                                                                        ORDER

               The foregoing having been heard, it is hereby, ORDERED:

 GRANTED/DENIED

                                                                                                     THE COURT



                                                                                                     _______________________________
                                                                                                     JUDGE/CLERK



                                                                              CERTIFICATION

        I hereby certify that a cop y of the above w as e-filed and / or m ailed or em ailed on
 July 31, 2007 to all counsel and pro se parties of record as follows:

 Jennifer C. Vickery, Esq.
 P. O. Box 1281
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                                                                                       _______________________________
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